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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-1661-WJM-MEH
  Consolidated with 17-cv-1679-WJM-MEH

  SIERRA CLUB; ELYRIA AND SWANSEA NEIGHBORHOOD ASSOCIATION; CHAFFEE
  PARK NEIGHBORHOOD ASSOCIATION; and COLORADO LATINO FORUM,

  Plaintiffs,

  v.

  FEDERAL HIGHWAY ADMINISTRATION, ELAINE CHAO, in her official capacity as
  Secretary of Transportation; and JOHN M. CARTER, in his official capacity as Division
  Administrator, Defendants,

  v.

  COLORADO DEPARTMENT OF TRANSPORTATION, and SHAILEN P. BHATT, in his
  official capacity as Executive Director of the Colorado Department of Transportation,

  Defendant-Intervenors.
                                  EXHIBIT 33
                SECOND DECLARATION OF DR. GREGORY ROWANGOULD
                                 (Case No. 17-cv-1679-WJM-MEH)

   ROBERT E. YUHNKE (CO Bar No. 12686)          GREGORY N. CORBIN (CO Bar No. 48468)
   4050 SE Hosner Terrace                       Milligan Rona Duran & King LLC
   Gresham, OR 97080                            1627 Vine St.
   (303) 499-0425                               Denver, CO 80206
   bob.yuhnke@prodigy.net                       Tel. 720-414-2000
                                                gnc@mrdklaw.com
   ANDREA S. GELFUSO (CO Bar No. 19773)
   2402 S. Holland Street
   Lakewood Co 80227
   (303) 955-1910
   agelfuso6@gmail.com                          COUNSEL FOR PETITIONERS
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                  DECLARATION OF GREGORY ROWANGOULD

                   RE: MODELING PM2.5 EMISSIONS FROM 1-70

         I, Gregory Rowangould, declare that the following is true and correct and within my

  personal knowledge.

         1.      If called as a witness, I could and would testify competently to the facts stated

  herein. As to those matters that reflect an opinion, they reflect my personal opinion and judgment

  on the matter based on the years of educational and professional experience shown in my

  curriculum vitae ("CV").

         2.      My CV is appended hereto as Attachment A.


         3.      I am a citizen of the United States, and reside in Albuquerque, New Mexico.

         4.     I am an Assistant Professor at the University of New Mexico in the Department of

 Civil Engineering. I specialize in the environmental and air quality impacts of transportation

 systems and facilities, including emissions from mobile sources and modeling their air quality

 impacts.

         5.     I am a Principle of Sustainable Systems Research, L.L.C., an environmental

 consulting firm in Davis, California_

         6.     I hold a Bachelor's of Science in chemical engineering from the University of

 Maine, a Master of Science in resource economics and policy from the University of Maine, and

 a Ph.D. in Civil and Environmental Engineering with concentration in Transportation from the

 University of California, Davis.

         7.     I have more than ten years experience in environmental research, teaching, and

 consulting. A substantial part of my work has related to air quality modeling and analysis of

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  urban transportation networks, transportation projects, including proposed highway projects.

         8. I have performed consulting services for the U.S. Environmental Protection Agency

  with regard to research activities involving the modeling of air pollution from highways.

         9. I have experience using both U.S. EPA's models for estimating emissions from motor

  vehicles (MOVES) and for estimating the concentrations of mobile sources emissions when they

  are released into the ambient air (AERMOD).

         10. I have published reports of research projects in which I modeled emissions from

  highway traffic. These prior studies included entire urban roadway networks. The purpose of the

  modeling in these studies was to look at the air quality and health impacts of regional

  transportation plans, land-use policies, and most recently a port clean trucks program. All of the

  studies modeled PM2.s. The studies using AERMOD and MOVES (or EMFAC in California)

  include the following:

     •   Dana, R., G. Rowangould, and D. Niemeier. (in press). Evaluation of the Health Impacts
         of Rolling Back a Port Clean Trucks Program. Transportation Research Record: Journal
         of the Transportation Research Board of the National Academies.
     •   Poorfakhraei, A., M. Tayarani, and G. Rowangould. (2017). Evaluating Health
         Outcomes from Vehicle Emissions Exposure in the Long Range Regional Transportation
         Planning Process. Journal of Transport & Health. 6: 501-515.
     •   Tayarani, M., A. Poorfakhraei, R. Nadafianshahamabadi, and G. Rowangould. (2016).
         Evaluating unintended outcomes of regional smart-growth strategies: Environmental
         justice and public health concerns. Transportation Research Part D: Transport and
         Environment 49, 280-290.doi:10.1016/j.trd.2016.10.011
     •   Rowangould, G. (2015). A New Approach for Evaluating Regional Exposure to
         Particulate Matter Emissions from Motor Vehicles. Transportation Research Part D:
         Transport and Environment. 34: 307-317.


         11. My current research, funded by U.S. EPA, uses travel demand modeling, MOVES

  and AERMOD to evaluate exposure to PM2.s from vehicle traffic in Albuquerque, NM and

  Atlanta, GA.

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          12. I prepared the report entitled "Modeling PM2.s Emissions from Phase I of the I-70

  East (Central 70) Project," incorporated herein and attached hereto as Attachment B.

          13. I prepared this report in response to a request from the Colorado Latino Forum (CLF)

  that I perform an air quality modeling hot-spot analysis of emissions from the I-70 Project, Phase

  1, to demonstrate whether Project emissions are likely to cause a violation of the 24-hour

  National Ambient Air Quality Standard (NAAQS) for PM2.s in the neighborhoods adjacent to the

  I-70 Project.

          14. The request for this analysis was prompted by concerns from nearby residents that

  Project emissions would likely cause a violation of the NAAQS based on the modeling of PM10

  performed for the conformity determination which concluded that Project emissions nearly

  violate the NAAQS for PM10, that total emissions of both PM10 and PM2.s are expected to

  increase over the life of the Project, and that EPA had found exposure to PM2.s to be much more

  strongly correlated with the mortality effects of exposure to PM. Residents were concerned about

  the likely impact on community health resulting from increased exposure to PM2.s. CLF

  members suspected that the State and federal transportation agencies had not taken seriously the

  threats to community health when they declined to perform a scientifically grounded

  investigation of the likely impacts of Project PM2.s emissions.

         15. The attached report describes the methods and procedures applied to perform the

  modeling analysis, and contains the results of my modeling analysis showing that emissions from

  the Project are likely to cause a violation of the 24-hour NAAQS for PM2.s.

         16. This modeling analysis was performed using the same emissions model (MOVES)

  and air quality model (AERMOD) required by EPA for modeling highway emissions, and


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  applies the same assumptions and inputs, with one exception described in the report, as those

  used by the Federal Highway Administration to model emissions of PM10 from the Project for

  the conformity determination. I exercised no independent judgment regarding the estimation of

  traffic, traffic emissions, the use of meteorological data to model dispersion, or the selection of

  receptor locations for modeling expected future concentrations. I replicated as closely as possible

  the decisions made by FHWA in its modeling analysis of PM10 to avoid any possible discrepancy

  with the procedures implemented by FHWA to model Project PM10 emissions.

          17. I used the data contained in the modeling files for the PM10 hot-spot analysis provided

  by the Colorado Department of Transportation in response to a public comment requesting

  documentation of modeling files. The agency-supplied files were used to avoid any errors or

  variances that might arise from independently obtaining needed input data. The data files used

  are provided as an appendix to the report.

          18. The results of my modeling analysis are contained in the attached report (Attachment

  B).

  I declare pursuant to 28 U.S.C. § 1746, subject to the penalty of perjury under the laws of the

  United States, that the above stated facts, and the facts stated in the report attached hereto,

  incorporated herein and identified as Attachment B, are true and correct to the best of my

  knowledge and belief.

                 Executed at Albuquerque, New Mexico, this          <i' day of March, 2018.




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                      Exhibit 33
                    Attachment – A
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                           DR. GREGORY ROWANGOULD, PHD
           Civil Engineering, MSC01 1070 • 1 University of New Mexico • Albuquerque, NM 87131
                  Ph. (505) 277-1973 • rowangould@unm.edu • www.unm.edu/~rowangould

  EDUCATION
  PhD     University of California, Davis (2010)
          Civil and Environmental Engineering: concentration in Transportation
          Dissertation: “A Spatially Detailed Locomotive Emission Model and Goods Movement Data
          Constraints on Public Policy and Planning”
  MS      University of Maine, Orono (2006)
          Resource Economics and Policy: concentration in Environmental Economics
          Thesis: “A Spatial Analysis of Passenger Vehicle Attributes, Environmental Impact and Policy”
  BS      University of Maine, Orono (2003)
          Chemical Engineering
  PROFESSIONAL EXPERIENCE
  University of New Mexico, Albuquerque, NM                                               (8/2012 – current)
  Assistant Professor, Department of Civil Engineering
  Director of the New Mexico Local Technical Assistance Program
  Sustainable Systems Research, LLC, Davis, CA                                            (5/2017 – current)
  Principle
  Natural Resources Defense Council, Santa Monica, CA                                     (7/2010 – 7/2012)
  Transportation and Air Quality Science Fellow
  University of California, Davis, CA                                                     (9/2006 – 7/2010)
  Research Assistant, Department of Civil & Environmental Engineering
  University of California, Davis, CA                                                     (3/2009 – 6/2009)
  Teaching Assistant, Department of Civil & Environmental Engineering                     (3/2010 – 6/2010)
  University of Maine, Orono, ME                                                          (9/2004 – 8/2006)
  Research Assistant, Department of Resource Economics & Policy and the Margaret
  Chase Smith Policy Center
  CONSULTING EXPERIENCE
  Freedman Boyd Hollander Goldberg Urias & Ward P.A., Albuquerque, NM                      (5/2016 – 8/2016)
  ICF Incorporated, LLC, Fairfax, VA                                                      (5/2014 – 12/2014)
    Provided consulting services to ICF for a Federal Highway Administration and
    Centers for Disease Control project to develop a community health risk tool. Project
    website and tool available at http://www.transportation.gov/transportation-health-
    tool/indicators
  United States Environmental Protection Agency, Anne Arbor, MI.                         (11/2013 – 12/2013)
    Provided a scientific review of a US EPA sponsored air quality research project
  Communities for a Better Environment, Huntington Park, CA.                              (11/2011 – 8/2012)
    Provided transportation planning and air quality consulting services to Communities
    for a Better Environment
  The Ride for Roswell, Buffalo, NY                                                        (4/2011 – 6/2011)
    Pro bono consulting, bicycle traffic modeling and planning for a charitable
    community bicycle ride
  Pew Center on Global Climate Change, Washington, D.C.                                   (12/2008 – 8/2009)
    Consultant, developed a research report investigating the GHG mitigation potential
    for domestic and international marine shipping and aviation
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                                     Curriculum Vitae ▪ Dr. Gregory Rowangould


  NATIONAL/REGIONAL/LOCAL SERVICE
  2017 International Cycling Safety Conference, University of California, Davis, CA
   Member of the Scientific Committee and Session Chair                            (9/20/2017-9/23/2017)
  Transportation and Air Quality Committee (ADC20), Transportation Research Board of the National
  Academies, Washington, D.C.
  Committee Member & Research Subcommittee Vice Chair                             (5/2017 – current)
  Committee Member & Paper Review Co-Chair                                        (4/2014 – 4/2017)
  Transportation Research Part D: Transport and Environment (TRD), Elsevier Ltd.
  Member of the Editorial Board                                                  (1/2017 – current)
  Transportation Research Board Annual Meeting Workshop, Integrated Land-use, Travel Demand, Air
  Quality & Exposure Modeling: The Future of Regional Transportation Planning?
  Organizer, Co-Chair and Moderator                                                    (1/11/2015)
  National Cooperative Highway Research Program, Transportation Research Board of the National
  Academies, NCHRP Project 08-102 – Bicycle Facility Preferences and Effects on Increasing Bicycle Trips
   Panel Member                                                                         (10/2014 – current)
  Sustainable Cities and Society (SCS), Elsevier Ltd.
   Member of the Editorial Board                                                              (10/2014 – 2/2018)
   Editor of Special Edition on Transportation                                               (2/1/2016 – 8/2017)
  Central New Mexico Climate Change Scenario Planning Project, US Department of Transportation &
  Mid-Region Council of Governments
   Member, Mitigation Technical Committee                                      (11/2013 – 6/2014)
  Statewide Public Health, Safety, and Security Working Group, New Mexico Department of
  Transportation
   Working Group Member                                                         (11/2013 – 10/2015)
  Land-Use Transportation Integration Committee, Mid-Region Council of Governments, Albuquerque,
  NM
   Committee Member                                                            (12/2012 – 6/2014)
  AWARDS AND RECOGNITION
  Young Professional Runner-Up Best Paper Award, Environmental Management Group, Air & Waste
  Management Association 108th Annual Conference, Raleigh, NC, June 25, 2015
  Best Paper Award, Civil Engineering Department, University of New Mexico, Spring 2015 & Fall 2017
  Young Professional Best Paper Award, Environmental Management Group, Air & Waste Management
  Association 107th Annual Conference, Long Beach, CA, June 25, 2014
  PEER REVIEWED JOURNAL PAPERS
  Rowangould, G., R. Nadafianshahamabadi*, and A. Poorfakhraei*.(in press). Programming Flexible Congestion
    Mitigation and Air Quality Program Funds: Best Practices for State DOTs. Transportation Research Record:
    Journal of the Transportation Research Board of the National Academies.
  Dana, R., G. Rowangould, and D. Niemeier. (in press). Evaluation of the Health Impacts of Rolling Back a Port
    Clean Trucks Program. Transportation Research Record: Journal of the Transportation Research Board of
    the National Academies.
  Poorfakhraei, A*., M. Tayarani*, and G. Rowangould. (2017). Evaluating Health Outcomes from Vehicle Emissions
    Exposure in the Long Range Regional Transportation Planning Process. Journal of Transport & Health. 6: 501-515.

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                                          Curriculum Vitae ▪ Dr. Gregory Rowangould


   Nadafianshahamabadi, R*., M. Tayarani*, and G. Rowangould. (2017). Differences in Expertise and Values:
     Comparing Community and Expert Assessments of a Transportation Project. Sustainable Cities and Society.
     doi:10.1016/j.scs.2016.08.027
   Tayarani, M*., A. Poorfakhraei*, R. Nadafianshahamabadi*, and G. Rowangould. (2016). Evaluating
      unintended outcomes of regional smart-growth strategies: Environmental justice and public health
      concerns. Transportation Research Part D: Transport and Environment 49, 280–290.
      doi:10.1016/j.trd.2016.10.011
   Rowangould, G. and M. Tayarani* (2016). The Effect of Bicycle Facilities on Travel Mode Choice Decisions. ASCE
     Journal of Urban Planning and Development. doi: 10.1061/(ASCE)UP.1943-5444.0000341
   Poorfakhraei, A.* and G. Rowangould (2015). Estimating Welfare Change Associated with Improvements in Urban
     Bicycling Facilities. ASCE Journal of Transportation Engineering. 141(11): 04015025.
   Rowangould, G. (2015). A New Approach for Evaluating Regional Exposure to Particulate Matter Emissions from
     Motor Vehicles. Transportation Research Part D: Transport and Environment. 34: 307-317.
   Rowangould, G. (2013). Public Financing of Private Freight Rail Infrastructure to Reduce Highway Congestion: A Case
     Study of Public Policy and Decision Making in the United States. Transportation Research Part A: Policy and
     Practice. 57: 25-36.
   Rowangould, G. (2013). A Census of the United States Near-Roadway Population: Public Health and Environmental
     Justice Considerations. Transportation Research Part D: Transport and Environment. 2: 59-67.
   Gould, G. and D. Niemeier (2011). Assignment of Emissions Using a New Locomotive Emissions Model.
     Environmental Science and Technology. 45(13): 5846- 5852.
   Gould, G. and A. Karner (2009). Modeling Bicycle Facility Operation: a Cellular Automaton Approach.
     Transportation Research Record: Journal of the Transportation Research Board of National Academies.
     2140: 157-164.
   Gould, G. and D. Niemeier (2009). Review of Regional Locomotive Emission Modeling and the Constraints Posed by
     Activity Data. Transportation Research Record: Journal of the Transportation Research Board of the
     National Academies. 2117: 24-32.
   Niemeier, D., G. Gould, A. Karner, M. Hixson, B. Bachmann, C. Okma, Z. Lang and D. Heres Del Valle
      (2008). Rethinking downstream regulation: California’s opportunity to engage households in reducing greenhouse gases.
      Energy Policy, 36(9)
   *Students advised by Dr. Rowangould
   PEER REVIEWED CONFERENCE PAPERS
   Montano, S*. and G. Rowangould. (January 9th, 2018). Evaluating the Role of Federal Transportation Funding
     Flexibility and Investments in Bicycle and Pedestrian Infrastructure. Presentation at the Transportation Research
     Board 97th Annual Meeting, Washington, D.C.
   Mohammad, T*., R. Nadafianshahamabadi*, A. Poorfakhraei* and G. Rowangould. (January 9th, 2018).
     Evaluating the Cumulative Air Quality Impacts of a Long Range Regional Transportation Plan. Presentation at the
     Transportation Research Board 97th Annual Meeting, Washington, D.C.
   Rowangould, G., R. Nadafianshahamabadi, and A. Poorfakhraei*. (January 9th, 2018). Programming Flexible
     Congestion Mitigation and Air Quality Program Funds: Best Practices for State DOTs. Presentation at the
     Transportation Research Board 97th Annual Meeting, Washington, D.C.
   Dana, R., G. Rowangould, and D. Niemeier. (January 8th, 2018). Evaluation of the Health Impacts of Rolling Back
     a Port Clean Trucks Program. Presentation at the Transportation Research Board 97th Annual Meeting,
     Washington, D.C.

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                                      Curriculum Vitae ▪ Dr. Gregory Rowangould


   Nadafianshahamabadi, R.* and G. Rowangould (January 10, 2017). Evaluating Sustainability in Transportation
     Plans: Review of Long-Range Transportation Plans in the United States. Presentation at the Transportation
     Research Board 96th Annual Meeting, Washington, D.C.
   Tayarani. M*, A. Poorfakhraei* and G. Rowangould (January 10, 2017). Can Regional Transportation and Land-
      Use Planning Reduce GHG Emissions? Presentation at the Transportation Research Board 96th Annual
      Meeting, Washington, D.C.
   Rodriguez, M.* and G. Rowangould (January 11, 2017). The Current State of Sidewalk ADA Compliance and
     Alternative Funding Methods for Albuquerque, NM. Presentation at the Transportation Research Board 96th
     Annual Meeting, Washington, D.C.
   Tayarani. M*, A. Poorfakhraei*, and Rowangould, G. (August 4, 2016). Can Regional Transportation and Land-
      Use Planning Reduce GHG Emissions? Presented at the Transportation Research Board Summer Conference
      on Transportation Planning and Air Quality, Minneapolis, MN.
   Tayarani. M*, A. Poorfakhraei*, and Rowangould, G. (August 5, 2016). Quantifying the Air Quality &
      Congestion Benefits of Bicycle Facilities. Presented at the Transportation Research Board Summer Conference
      on Transportation Planning and Air Quality, Minneapolis, MN.
   Nadafianshahamabadi, R.*, M. Tayarani*, and G. Rowangould (January 12, 2016). Differences in Expertise and
     Values: Comparing Community and Expert Assessments of a Transportation Project. Presentation at the
     Transportation Research Board 95th Annual Meeting, Washington, D.C.
   Moreno, S. A.*, R. R. Gade*, and G. Rowangould (January 13, 2016). Investigating Pedestrian Crash Risk in
     Albuquerque, New Mexico. Presentation at the Transportation Research Board 95th Annual Meeting,
     Washington, D.C.
   Tayarani, M.*, A. Poorfakhraei*, R. Nadafianshahamabadi*, and G. Rowangould (January13, 2016). Large-
      Scale, High-Resolution Air Quality Modeling Framework to Evaluate Environmental Justice in Long-Range
      Transportation Planning. Presentation at the Transportation Research Board 95th Annual Meeting,
      Washington, D.C.
   Poorfakhraei, A.*, and G. Rowangould (January 11, 2016) Evaluating Mobile-Source Air Pollution Exposure,
     Equity, and Health Risks in Long-Range Regional Transportation Plans. Presentation at the Transportation
     Research Board 95th Annual Meeting, Washington, D.C.
   Rowangould, G., A. Poorfakhraei*, and M. Tayarani* (June 24, 2015). A New Approach for Evaluating Regional
     Exposure to Particulate Matter Emissions from Motor Vehicles. Presented at the Air & Waste Management
     Association Annual Conference, Raleigh, NC
   Poorfakhraei, A.* and G. Rowangould (January 14, 2015). Economic Valuation of Improvements in Urban Cycling
     Facilities. Presented at the Transportation Research Board 94th Annual Meeting, Washington, D.C.
   Rowangould, G. and M. Tayarani* (January 12, 2015). The Effect of Bicycle Paths on the Decision to Commute by
     Bicycle. Presented at the Transportation Research Board 94th Annual Meeting, Washington, D.C.
   Tayarani, M.* and G. Rowangould (January 12, 2015). Quantifying the Air Quality and CongestionBenefits of Bicycle
      Facilities: A Case Study from Albuquerque New Mexico. Presented at the Transportation Research Board 94th
      Annual Meeting, Washington, D.C.
   Rowangould, G. (March 3, 2014). Using AERMOD for Regional Transportation Planning: Exposure Analysis,
     Environmental Justice, and Pro-Active Hot-spot Analysis. Presented at the Transportation, Land Use Planning,
     and Air Quality Conference, Charlotte, NC
   Rowangould, G. (June 25, 2014). Regional Long Range Transportation Plan Air Quality and Exposure Analysis.
     Presented at the Air & Waste Management Association 107th Annual Conference, Long Beach, CA


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                                       Curriculum Vitae ▪ Dr. Gregory Rowangould


   Rowangould, G. and J. Luna (January 2014). Does Dedicated Bicycle Infrastructure Reduce Motorized Vehicle Trips?
     Results from the Albuquerque Bicycle Travel Study. Presented at the Transportation Research Board 93rd Annual
     Meeting, Washington, D.C.
   Gould, G. and S. Contreras* (January 15, 2013). Regional Scale Dispersion Modeling and Analysis of Directly Emitted
     Fine Particulate Matter from Highway Vehicles Using AERMOD. Presented at the Transportation Research
     Board 92nd Annual Meeting, Washington, D.C.
   Gould, G. (January 15, 2013). A Census of the U.S. Near Roadway Population: Particulate Matter Exposure,
     Environmental Justice, and Coverage of the Air Quality Monitoring Network. Presented at the transportation
     Research Board 92nd Annual Meeting, Washington, D.C.
   Gould, G. and D. Niemeier (January 12, 2010). A Geographically Detailed Locomotive Emission Model. Presented at
     the Transportation Research Board 89th Annual Meeting, Washington, D.C.
   Gould, G. and A. Karner (January 14, 2009). Modeling Bicycle Facility Operation: a Cellular Automaton Approach.
     Presented at the Transportation Research Board 88th Annual Meeting, Washington, D.C.
   Gould, G. and D. Niemeier (January 12, 2009). Review of Regional Locomotive Emission Modeling and the Constraints
     Posed by Activity Data. Presented at the Transportation Research Board 88th Annual Meeting, Washington,
     D.C.
   *Students advised by Dr. Rowangould
   PEER REVIEWED REPORTS AND OTHER PUBLICATIONS
   McCollum, D., G. Gould, and D. Greene (2009). Greenhouse Gas Emissions from Aviation and Marine
     Transportation: Mitigation Potential and Policies. Report prepared for the Pew Center on Global Climate
     Change, Washington D.C.
   OTHER REPORTS AND PUBLICATIONS
   Rowangould, G., R. Nadafianshahamabadi*, A. Poorfakhraei*, S. Bogus Halter (May 2017) Congestion
      Mitigation and Air Quality Program Best Practices Scan, Final Report. Report prepared by the University of New
      Mexico for the New Mexico Department of Transportation, Santa Fe, New Mexico.
   Futures 2040: Metropolitan Transportation Plan, Mid Region Council of Governments, Albuquerque, NM. (G.
      Rowangould was one of many contributors and co-authors, provided technical assistance for travel
      demand modeling and vehicle emission modeling)
   Rowangould, G., M. Tayarani*, and A. Poorafakhraei* (April, 2015). Futures 2040: Metropolitan Transportation
     Plan - Appendix F: GHG Emissions Reduction Strategies, Mid Region Council of Governments, Albuquerque,
     NM.
   Lee, S., Tremble, M. Vaivai, J., Rowangould, G., Tayarani, M.*, Poorfakhraei, A.* (March, 2015). Central New
      Mexico climate change scenario planning project: final report. Report prepared for the U.S. Department of
      Transportation, U.S. Federal Highway Administration and Mid Region Council of Governments.
   Lee, S., M. Tremble, J. Vaivai, Herrington, C., R. Gonzalez-Pinzon, M. Stone, and G. Rowangould
      (December, 2014). Climate Change Effects on Central New Mexico’s Land Use, Transportation System and Key
      Natural Resources. Report prepared by Ecosystem Management Inc. and the University of New Mexico for
      the U.S. Department of Transportation VOLPE Center, Cambridge, MA
   Rowangould, G., M. Tayarani*, and A. Poorafakhraei* (November, 2014) Central New Mexico Climate Change
     Scenario Planning Project: Analysis of Additional Greenhouse Gas Mitigation Strategies. Report prepared by the
     University of New Mexico for the U.S. Department of Transportation VOLPE Center, Cambridge, MA
   Lee, S., M. Tremble, J. Vaivai, Herrington, C., R. Gonzalez-Pinzon, M. Stone, and G. Rowangould (May
      2014) Climate Change Resilience of Land Use, Transportation and Key Natural Resources in Central New Mexico.

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                                         Curriculum Vitae ▪ Dr. Gregory Rowangould


      Report prepared by Ecosystem Management Inc., Sustainable Systems Research LLC. and the University
      of New Mexico for the U.S. Department of Transportation VOLPE Center, Cambridge, MA
   Gould, G. (2012) Analysis of Greenhouse Gas Emission Estimates for the Interstate 710 Corridor Project. Report
     Prepared for Communities for a Better Environment, Huntington Park, CA.
   Gould, G. (2012) Analysis of the Alternatives Selection Process for the Interstate 710 Corridor Project. Report Prepared
     for Communities for a Better Environment, Huntington Park, CA.
   Gould, G. (2012) Physical Separation of the Chicago Area Waterway System: The Economic and Environmental Impact of
     Barge Traffic Disruption. NRDC Working Paper.
   C. Noblet, G. Gould, J. Rubin, D. Innis, and C. Morris (2006). Sustainable Transportation Funding for Maine’s
      Future. Report prepared for the Maine Department of Transportation, Augusta, ME.
   *Students advised by Dr. Rowangould




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                      Exhibit 33
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        Modeling PM2.5 Emissions from Phase I of the I-70 East (Central 70) Project




                                      March 8, 2018




                                       Prepared by:
                              Dr. Gregory Rowangould, PhD
                            Sustainable Systems Research, LLC
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   EXECUTIVE SUMMARY
   E1 Background
   Two detailed air quality modeling studies were performed for the Record of Decision 1 to determine the
   impact that I-70 East Phase 1 (Central 70) Project (“Project”) emissions are expected to have on future
   ambient concentrations of Carbon Monoxide and PM10. Those “hot-spot” analyses 2 were performed to
   satisfy the conformity criteria under section 176(c) of the Clean Air Act which require that emissions from
   a transportation Project not cause or contribute to a violation of any NAAQS. 42 U.S.C. §7506(c)(1)(B);
   40 C.F.R. §93.116. Projects located in an area designated nonattainment, or redesignated as attainment and
   required to have a maintenance plan pursuant to section 175A, must demonstrate conformity to qualify for
   federal funding. 42 U.S.C. §7506(c)(1), (c)(5). FHWA determined that the Project was required to
   demonstrate conformity with the NAAQS for Carbon Monoxide and PM10 under section 176(c) because
   Denver had previously been designated nonattainment for those pollutants.
   FHWA did not apply EPA prescribed modeling procedures to evaluate the impacts that Project PM2.5
   emissions would be expected to have on ambient air quality in the Project area. FHWA explained that an
   emissions analysis was not performed because a Clean Air Act conformity determination is not required
   for PM2.5.
   Members of Denver’s City Council, community organizations representing neighborhoods adjacent to the
   Project and the Sierra Club in comments on the Supplemental Draft EIS and on the Final EIS specifically
   requested that modeling be performed to determine by how much PM2.5 emissions attributable to the Project
   would increase the ambient concentrations of PM2.5 in the Project area, and the potential for emissions from
   the Project to cause or contribute to an exceedance of the PM2.5 NAAQS.
   The Sierra Club commented that under NEPA a quantitative hot-spot analysis is required because “the
   decisionmaker needs to know, and must disclose to the public, how much the increase in traffic between
   now and 2035 can be expected to worsen PM2.5 exposures in the neighborhoods surrounding the Mousetrap.
   If the Project will exacerbate exceedances of the standard set to protect public health, the Colorado and
   Denver regional air quality planning agencies need to know so they can begin to develop a control strategy,
   taxpayers need to know because they will incur additional costs to control CDOT’s pollution, and the public
   needs to know so they can decide whether to take action to protect themselves and their families from
   dangerous pollution levels.” 3 The Club requested a scientifically credible analysis to determine if the
   Project would violate the NAAQS or contribute to adverse health impacts. The Club commented that a
   modeling analysis consistent with EPA’s hot-spot analysis modeling procedures are required to ”satisfy the
   requirement that an EIS ‘shall state how alternatives … will or will not achieve the requirements of … other
   environmental laws and policies,’ 40 CFR § 1502.2(d). The analysis for PM10 and CO apply the
   methodologies prescribed by EPA in its Quantitative Guidance for making project-level conformity
   determinations. Those methodologies should be applied to assess the likely impacts of PM2.5 and NO2
   emissions as well.” 4
   FHWA rejected these requests. Modeling for PM2.5 was not performed as part of the NEPA process. FHWA
   described no other methodology for determining whether Project emissions would cause or contribute to
   violations of the NAAQS, and if so, determine the mitigation measures that would be necessary to achieve

   1
      I-70 East ROD 1: Phase 1 (Central 70 Project), Attachment C7, Air Quality Conformity Technical Report
   (January 2017),
   2
     “Hot-spot analysis is an estimation of likely future localized CO, PM10, and/or PM2.5 pollutant concentrations and a
   comparison of those concentrations to the national ambient air quality standards. Hot-spot analysis assesses impacts
   on a scale smaller than the entire nonattainment or maintenance area, including, for example, congested roadway
   intersections and highways or transit terminals, and uses an air quality dispersion model to determine the effects of
   emissions on air quality.” 40 C.F.R. §93.101 “Definitions.”
   3
     “Sierra Club Comments I-70 FEIS,” Record of Decision, Attachment E, p. 110.
   4
     “I-70 East EIS – DEIS COMMENTS,” submitted by Sierra Club. FEIS, Attachment Q, p. S-121.

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   emission reductions sufficient to avoid such violations. FHWA also applied no alternative methodology to
   quantify increased community exposure to PM2.5 to estimate impacts on community health.
   The Colorado Latino Forum employed the services of Sustainable Systems Research (“SSR”) to perform
   this modeling to address these community concerns.
   E2 Factors Supporting the Need for Analysis of Air Quality and Health Impacts.
   A number of factors suggest the need for a modeling analysis of PM2.5 including the more severe impact
   that fine particles have on human health, the extremely narrow margin for attainment of the NAAQS for
   PM10, the large fraction of PM10 emissions from the Project that the agencies reported are PM2.5, and the
   lower concentrations allowed in the ambient air by the NAAQS for PM2.5 compared to PM10. Particle
   pollution from the Project is produced from vehicle exhaust, vehicle brake and tire wear, and re-suspended
   road dust from vehicle traffic. Each of these emissions sources emit particles that fall within the PM10 and
   PM2.5 size ranges. Therefore, higher PM10 emission rates are generally associated with higher PM2.5
   emission rates. High concentrations of and significant increases in exposure to PM10 therefore raised
   concerns about PM2.5 concentrations and exposures.
   E2.1 Modeling for PM10
   Community concern about possible significant impacts from increased future concentrations of PM2.5 were
   prompted by 1) the increase in tailpipe PM2.5 emissions between 2025 and 2035 reported in the Final EIS, 5
   2) the large 43% increase in expected road dust emissions between 2010 and 2035, 6 and the emissions
   analysis performed for PM10 which showed that PM10 emissions attributable to the Project will add more
   than 41 µg/m3 to background concentrations of 113 µg/m3. Ambient PM10 concentration in the study area
   would equal 154.136 µg/m3. However, since EPA’s design value rule require rounding PM10 estimates to
   the nearest 10 µg/m3, 7 the design value (the concentration estimate used for determining compliance with
   the NAAQS) is 150 µg/m3. The 24-hour PM10 NAAQS is 150 µg/m3. Had the estimated PM10 concentrations
   been just 0.864 µg/m3 higher (an increase of just 0.56%) the Project’s contribution to background PM10
   concentrations would have resulted in a design value that exceeds the PM10 NAAQS.
   E2.2 More Protective NAAQS for PM2.5
   PM10, referred to as “coarse” particles and PM2.5, referred to as “fine” particles, are both particle air
   pollution 8 that differ by particle size. PM10 pollution includes respirable particles defined as having a
   diameter ≤ 10 µm, while PM2.5 pollution includes inhalable particles defined as having a diameter ≤ 2.5
   µm. PM2.5 is therefore a subset of PM10. EPA initially established standards for PM10 in 1987, but
   promulgated separate standards for PM2.5 in 1997 when it determined that “fine particles are a better
   surrogate for those particle components linked to mortality and morbidity effects at levels below the current
   [PM10] standards.” 9 As a result, EPA decided “to provide additional protection against the risk posed by
   PM by adding new standards for the fine fraction of PM10, as opposed to tightening the current PM10
   standards.” 10 As a result the 24-hour NAAQS limits PM2.5 to 35 µg/m3 compared to 150 µg/m3 for PM10. 11
   The Project’s marginal attainment of the PM10 NAAQS suggested a high probability that the more
   protective NAAQS for PM2.5 could be violated.
   The slim margin by which the Project avoids exceeding the PM10 NAAQS, and the significant increase in
   community exposures to PM that would result, suggested that the EPA-approved modeling procedure used

   5
     FEIS, Air Quality Technical Report, Table 22 “PM2.5 emission inventories (tons per day),” p. 84 (January 2016).
   6
     Id., § 7.4.9, p. 109.
   7
     40 C.F.R. § 50.6, Appendix K.
   8
     “National Ambient Air Quality Standards for Particulate Matter; Final Rule,” 78 Fed. Reg. 3086 (January 15,
   2013).
   9
     “National Ambient Air Quality Standards for Particulate Matter; Final Rule,” 62 Fed. Reg. 38,651, 38,665 (July
   18, 1997).
   10
      Id.
   11
      See 40 C.F.R. §§ 50.6 [PM10], 50.13 [PM2.5].

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   to estimate future PM10 concentrations should also be applied to determine expected effects that Project
   PM2.5 emissions would have on future PM2.5 concentrations to determine Project impacts on attainment of
   the NAAQS and resident health.
   E3 Summary of Results.
   The modeling performed for this analysis used the same EPA-required model for estimating vehicle
   emissions (MOVES) and the same EPA-approved model for estimating ambient air concentrations
   (AERMOD) used by FHWA to model ambient air concentrations for PM10. The same traffic projections
   were used to estimate emissions, and the same meteorological conditions were used to model the dispersion
   of emissions in the ambient air. Modeling results were obtained to estimate ambient concentrations for
   PM2.5 at the same receptor locations that were selected by FHWA to model Project PM10 emissions.
   Modeled concentrations attributable to Project emissions were added to monitored background
   concentrations of PM2.5 to calculate the “design value” for the Project. The “design value” is the statistic
   that EPA requires to compare Project air quality with the NAAQS.
   Background air quality for PM2.5 measured at the same location selected by FHWA to represent background
   PM10 air quality for the Project is 25 µg/m3. Together the modeled future Project concentrations and
   monitored background concentration were used to calculate “design values” using the procedures
   prescribed in section 9.3.3 of both the 2010 and 2015 versions of EPA’s Hot-spot guidance. 12,13
   Using the procedure described in EPA’s 2010 Guidance, the Project contribution is 14.6 µg/m3, which
   under EPA’s rounding convention is treated as 15 µg/m3. When added to background the design value is
   40 µg/m3.
   Using the procedure in EPA’s 2015 Guidance, the modeled Project contribution is 11.6 µg/m3 which is
   rounded to 12 µg/m3. When added to background, the design value is 37 µg/m3.
   The 24-hour NAAQS for PM2.5 is 35 µg/m3. Regardless which design value procedure is applied, the
   analysis establishes that Project emissions are expected to violate the NAAQS. The major difference
   between the two procedures is the magnitude of emission reduction needed to demonstrate compliance with
   the NAAQS.




   12
      Transportation Conformity Guidance for Quantitative Hot-Spot Analyses in PM2.5 and PM10 Nonattainment and
   Maintenance Areas (EPA 420-B-10-040) [hereinafter “2010 Hot-spot Guidance”]. 75 Fed. Reg. 79,370 (Dec.20,
   2010).
   13
      Transportation Conformity Guidance for Quantitative Hot-spot Analyses in PM2.5 and PM10 Nonattainment and
   Maintenance Areas, (EPA-420-15-084) available at:
   https://nepis.epa.gov/Exe/ZyPDF.cgi?Dockey=P100NMXM.pdf.

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   1    INTRODUCTION
   The purpose of the air quality analysis reported in this document is to evaluate impacts on ambient air
   quality in the Project study area. This analysis reports results obtained from air quality modeling procedures
   prescribed by U.S. EPA to determine the impact that emissions of PM2.5 from Phase 1 of the Project would
   be expected to have on future ambient concentrations of PM2.5 in the Project study area. These modeled
   expected future concentrations provide the data required by EPA guidance to determine if Project emissions
   are likely to cause or contribute to a violation of the 24-hour NAAQS for PM2.5. 40 C.F.R. §50.13. In
   addition, these modeling results provide information needed to determine whether Project emissions will
   contribute to an increase in community exposure to PM2.5 that would likely cause a significant increase in
   adverse health outcomes known to be caused by exposure to PM2.5.
   2    DATA SOURCES AND ANALYSIS PROCEDURES
   Conformity of the Project with the PM10 NAAQS was evaluated by applying methodologies that generally
   appeared 14 to follow US EPA emission analysis guidelines for PM. In this study, SSR modeled the ambient
   concentration of PM2.5 attributable to the Project using the methods, data preparation, and modeling
   assumptions prescribed by EPA’s guidance for determining conformity with the NAAQS for PM2.5.
   SSR’s analysis replicates for PM2.5 emissions the modeling analysis performed for PM10. We use the vehicle
   emission factors for PM2.5 obtained from EPA’s MOVES model for the same traffic data, and air dispersion
   modeling inputs to estimate PM2.5 emissions and their ambient concentration within the study area as were
   used in the hot-spot emissions analysis for PM10. This section provides an overview of the PM10 modeling
   approach and then describes the changes SSR made to model PM2.5 rather than PM10.
   2.1 Overview of Modeling Approach
   There are four main steps to the agency’s PM10 hot-spot conformity analysis 15. The same steps are also
   required for a PM2.5 hotspot analysis. The following provides an overview of each step of the agency’s
   PM10 hot-spot analysis and the data it requires.
   2.1.1 Estimate Vehicle Traffic
   The first step is estimating vehicle traffic volumes and speeds on the roadways affected by the Project at a
   point in time when the maximum emission rates are expected. For the PM10 analysis, the agencies
   determined that maximum PM10 emissions from vehicle traffic would occur in the year 2040. The Denver
   Regional Council of Governments’ (DRCOG) FOCUS 2040 travel demand model was then used to forecast
   traffic volumes and speeds on roadways across the Denver metropolitan region for a scenario where the I-
   70 East Project was implemented. Traffic outputs for travel on I-25, I-225 and I-70 and their on and off
   ramps near the I-25/I-70 and I-225/I-70 interchanges were extracted and used for the remainder of the air
   quality analysis. Traffic on other nearby roadways such as arterials, collectors and residential streets were
   not included.
   2.1.2 Estimate Vehicle Emissions
   In this step, emissions for PM10 were estimated using emission rates from vehicle traffic on the roadways
   selected above. Emissions from vehicle exhaust, tire and brake wear, and re-suspended roadway dust were
   included. These estimates were then formatted as a series of adjacent “volume sources” which is one method
   outlined in the US EPA conformity guidance for defining emissions from a roadway in the AERMOD air
   14
      As discussed later in this report, CDOT removed seven receptors from their main modeling files and completed
   the modeling for these receptors in separate modeling runs – one for each receptor. The modeling for these seven
   receptors contained altered emission source dispersion parameters. SSR has not seen this procedure used in other
   modeling applications, and has not found US EPA guidance authorizing such a procedure.
   15
      Colorado Department of Transportation (January 2016), I-70 East Final Environmental Impact Statement: Air
   Quality Technical Report. As updated by the , I-70 East ROD 1: Phase 1 (Central 70 Project) Air Quality
   Conformity Technical Report (January 2017).

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   quality model that that was used by CDOT. Traffic data from the FOCUS 2040 model were available for
   11 daily time periods, and so emission rates were estimated separately for each roadway segment for each
   time period. 16
    PM10 emissions from vehicle exhaust, tire wear and brake wear were estimated using US EPA’s Motor
   Vehicle Simulator (“MOVES”) model. The MOVES model was used by the agencies to create an emission
   factor look-up table. The look-up table records outputs from the MOVES model of per-vehicle-mile PM10
   emissions by one-mile-per-hour increments of speed and one-percent increments of roadway grade for each
   roadway type (either controlled urban restricted access or urban unrestricted access in this case). The
   MOVES model was also updated with information about the Denver area vehicle fleet (e.g., distribution of
   vehicle ages and types), inspection and maintenance programs, and fuel properties by CDOT. The look-up
   table is then used to assign the appropriate emission rate to traffic on each roadway segment based on each
   segment’s roadway type, grade and estimated speed. The quantity of emissions for each roadway segment
   for each time period is then calculated by multiplying the emission rate by the segment’s traffic volume and
   distance. The same look-up table was used for SSR’s PM2.5 analysis, but the emission factors for PM2.5
   were applied.
   MOVES does not estimate emissions from re-suspended roadway dust, so the agencies used emission
   factors developed for a recent PM10 maintenance conformity study 17. The roadway dust emission factors
   appear to follow US EPA guidelines for fugitive dust described in AP-42 18 with adjustments made for the
   region’s conformity commitments 19. A table of per-vehicle-mile emission factors for different types of
   roadways and for different parts of the Denver metropolitan region were developed (see Appendix A). The
   roadway dust emission factors are assigned to each roadway link based on the roadway type (“general
   freeway”, “freeway HOT or managed lanes”, or “ramps”) and region (in this case “urban”). The quantity
   of re-suspended dust emissions for each roadway segment for each time period is then calculated by
   multiplying the emission factor by the segment’s traffic volume and distance. The vehicle emissions from
   MOVES and the roadway dust emissions are then added together to estimate total emissions from the
   Project.
   The final step in this part of the analysis is formatting the Project emission estimates for input to the
   AERMOD air quality model. There are two options for representing a roadway in AERMOD: as a series
   of adjacent area sources or volume sources. The agencies chose the volume source approach in which each
   roadway segment is represented as a series of evenly spaced volumes (e.g., cubes). The total emissions for
   each time period for each roadway segment are then evenly divided into the volume sources representing
   each roadway segment. The same procedure was used for SSR’s PM2.5 analysis.
   2.1.3 Air Dispersion Modeling
   Air dispersion modeling is used to estimate the ambient concentration of vehicle emissions in the Project
   area. Emission rates are provided from the above emission modeling. The agencies used US EPA’s
   AERMOD dispersion modeling (version 15181) for this step. In addition to defining the volume sources,
   AERMOD also requires several other inputs and parameter settings including a five year record (per
   conformity guidelines) or hourly meteorological data for the region, the population of the urban area being
   modeled (this is used to estimate the magnitude of the urban heat island which affects the dispersion

   16
      The Sierra Club submitted a comment objecting to the use of truck traffic estimated using the DRCOG model
   because the model predicted truck traffic that was 50% less than the share of total traffic actually reported by CDOT
   traffic counters. That issue is not addressed in this modeling analysis. For the purpose of this analysis, the traffic
   estimates used by the agencies for the PM10 analysis are used for PM2.5.
   17
      Page 33, Colorado Department of Transportation (January 2016), I-70 East Final Environmental Impact
   Statement: Air Quality Technical Report.
   18
      Chapter 13, Section 2.1, of US EPA, AP 42, Fifth Edition Compilation of Air Pollutant Emission Factors, Volume
   1: Stationary Point and Area Sources.
   19
      This is based on a statement provided in the MS Excel sheet that provides the road dust emission factors and their
   calculation methodology. How the reductions for the conformity measure were estimated is not explained.

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   modeling), and the location of “receptors” (i.e., discrete points where the model will estimate emission
   concentrations ). SSR’s PM2.5 analysis used the same model, meteorological inputs and receptor locations.
   CDOT used hourly meteorological data from the Stapleton Airport based on consultation with the Air
   Pollution Control Division of the Colorado Department of Public Health & Environment for the years 1990
   to 1994 20. Two networks of receptors were then defined for the study area. A series of closely spaced
   receptors (25 m) along the public right-of-way (typically the fence line) of each highway extending out 100
   m and then a series of more widely spaced receptors (100 m) covering the remainder of the study area. The
   closely spaced receptors capture the rapidly changing concentration levels near the emission sources where
   the maximum emission concentration are most likely to be found.
   There are also parameters that determine how AERMOD will aggregate and report the modeling results.
   By indicating the type of pollutant being modeled, AERMOD will generate an aggregated concentration
   estimate for each receptor that can be used for estimating a design value. For PM10, AERMOD reports the
   sixth highest 24-hour concentration over a period of five years.
   2.1.4 Calculate Design Values
   The maximum PM10 concentration from the AERMOD modeling is added to an estimate of the study area’s
   background ambient PM10 concentration to calculate a design value that EPA requires be used to compare
   Project emissions with the NAAQS. 21 Background concentrations were obtained from a nearby ambient air
   quality monitor located near Alsup Elementary School by the intersection of state highway 224 and I-76.
   Design values were estimated from monitoring data collected for 2012, 2013 and 2014.
   2.2 Modeling PM2.5
   SSR replicated the agencies’ PM10 modeling approach as closely as possible to evaluate the expected future
   concentration of PM2.5 emissions. Modeling PM2.5 rather than PM10 required changing several model
   parameter settings in the MOVES and AERMOD models. This section describes the data obtained from
   CDOT that were used for the PM2.5 analysis and changes SSR made to these data and model parameter
   settings to estimate PM2.5 rather than PM10.
   2.2.1 Data from CDOT
   Data from several separate requests to CDOT were used to perform the modeling described in this section.
   Each of the data sets requested are data used in the agencies’ PM10 hot-spot analysis:
       •    Year 2040 traffic outputs from the DRCOG FOCUS model for Phase I of the I-70 East Project.
            These data were used by the agencies along with MOVES to estimate emission rates. Included are
            traffic volumes and speeds for 11 daily time periods for each Project area roadway segment. The
            data were provided as a series of Microsoft Excel files, one for each time period. (provided to SSR
            by CDOT on 9/18/2017).
       •    Geographical information system (GIS) files that define the roadway network (geographical
            position and length of each segment). The network data also contain information about the number
            of lanes and grade for each segment. The data were provided as ArcGIS shapefiles. (provided to
            SSR by CDOT on 9/18/2017)
       •    US EPA MOVES modeling files for the year 2040 that were used in the agencies’ hot-spot analysis.
            These files included MySQL database tables that define MOVES model inputs that represent
            vehicle travel, the vehicle fleet and fuel properties for the Denver metropolitan region. The files
            also include MOVES input run specification files that define the parameter settings and model runs

   20
      Page 41, Colorado Department of Transportation (January 2016), I-70 East Final Environmental Impact
   Statement: Air Quality Technical Report.
   21
      The level of the national primary and secondary 24-hour ambient air quality standards for particulate matter is 150
   micrograms per cubic meter (μg/m3), 24-hour average concentration. The standards are attained when the expected
   number of days per calendar year with a 24-hour average concentration above 150 μg/m3, as determined in
   accordance with appendix K to this part, is equal to or less than one. 40 C.F.R. §50.6(a).

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            used to create the PM10 emission rate look-up tables that were used by the agencies. (provided to
            the Sierra Club by CDOT and made available to SSR)
        •   Re-suspended roadway dust emission factors for PM10 that were used in the agencies’ hot-spot
            analysis. Provided as an MS Excel file. (provided to the Sierra Club by CDOT and made available
            to SSR)
        •   US EPA AERMOD input and output files that were used in the agencies’ hot-spot analysis for
            Phase I of the I-70 East Project. The input file defines all 22 inputs and parameter settings required
            to run AERMOD and produce the PM10 design value estimates at each receptor location. The input
            files include the location of each volume source and receptor location (x and y UTM coordinates),
            the parameter values defining the size and shape of each volume source and its initial dispersion
            parameters, and emission rates that correspond to each volume source for each time period
            modeled. The AERMOD output files include the estimated sixth highest concentration of PM10 at
            each receptor location 23.(provided to the Sierra Club by CDOT and made available to SSR)
   Meteorological data for the years 1990 – 1994 for Stapleton Airport were provided to SSR by the Air
   Pollution Control Division of the Colorado Department of Public Health and Environment on 8/7/2017.
   These data contain hourly surface and upper air meteorological data processed for use in AERMOD.
   2.2.2 Changes Required to Model PM2.5
   The main changes to the data and input files provided by CDOT that are required to model PM2.5 are
   instructing MOVES to estimate PM2.5 rather than PM10, estimate PM2.5 re-suspended dust emission factors,
   editing the AERMOD input files to replace PM10 emission rates with PM2.5 emission rates and instructing
   AERMOD to provide output for the eight highest (98th percentile) 24-hour concentrations as required for
   estimating PM2.5 design values. 24
   The first step in SSR’s analysis was running the MOVES model with the inputs provided by CDOT to
   create a PM2.5 emission factor look-up table. We edited the MOVES run specification files so that they
   instructed MOVES to estimate PM2.5 emissions rather than PM10. All other MOVES run specifications and
   MySQL database tables were unchanged from the files provided by CDOT.
   We then estimated the total quantity of PM2.5 emissions for each roadway segment for each time period.
   This step required first matching traffic outputs from DRCOG’s FOCUS 2040 model that were provided as
   a series of MS Excel files to the roadway network that was provided as an ArcGIS shapefile. Unique
   numeric identifiers in each dataset allowed us to attach the traffic volume and speed data from the FOCUS
   2040 model results to the corresponding network links that contained the necessary roadway segment
   location, distance and grade information. We then assigned per-vehicle-mile PM2.5 emission rates from the
   PM2.5 lookup table to each network link based on each link’s grade, average speed and roadway type (either
   controlled urban restricted access or urban unrestricted access). The PM2.5 emission rates were then




   22
      The input file does not contain the required meteorological data. These data are contained in two additional files
   that AERMOD reads when it runs.
   23
      Note, for reasons not explained in any documentation provided by CDOT, seven receptors referred to by CDOT
   as “supplemental receptors” were modeled with a separate set of AERMOD input and output files – one for each of
   these seven receptors. The input files for each of these seven receptors contained altered volume source parameter
   settings (release height values) for some roadway segments that differ from the release heights prescribed in EPA’s
   modeling guidance.
   24
      “The 24-hour primary and secondary PM2.5 standards are met when the 98th percentile 24-hour concentration, as
   determined in accordance with appendix N of this part, is less than or equal to 35 [mu]g/m3.” 40 C.F.R. §50.13(c).
   71 Fed. Reg. 61,143, 61,224 (Oct. 17, 2006). Appendix N defines the “design value” as “the metrics (i.e., statistics)
   that are compared to the NAAQS levels to determine compliance, calculated as shown in [ ] this appendix.” 40
   C.F.R. Part 50, Appendix N, 1.(c).

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   multiplied by the traffic volume and distance of each roadway segment to estimate the quantity of PM2.5
   emissions for each roadway segment for each time period 25.
   Next, we estimated PM2.5 emissions from re-suspended roadway dust for each roadway segment for each
   time period. First, we estimated PM2.5 emission rates for roadway dust from the table of PM10 roadway dust
   emission factors provided by CDOT. Using the ratio of PM2.5 to PM10 for roadway dust emissions provided
   in AP-42 26, PM2.5 roadway dust emission factors were calculated as one quarter of the value of CDOT’s
   PM10 roadway dust emission factors. We then assigned the per-vehicle-mile roadway dust PM2.5 emission
   factors to each roadway segment based on the type of roadway (“general freeway”, “freeway HOT or
   managed lanes”, or “ramps”). The roadway type for each roadway segment was provided in the
   transportation network files provided by CDOT. Following the methods used for the agencies’ hot-spot
   analysis, we assumed the Project was in an “urban” area. The roadway dust PM2.5 emission rates were then
   multiplied by the traffic volume and distance of each roadway segment to estimate the quantity of roadway
   dust PM2.5 emissions for each roadway segment for each time period. Finally, we added the emissions from
   vehicle exhaust, tire wear, and break wear (from MOVES) to the roadway dust emissions to estimate the
   total quantity of PM2.5 emissions from vehicle traffic for each roadway link for each time period.
   In the final step, we edited the AERMOD input files provided by CDOT to replace PM10 emissions with
   PM2.5 emissions for each volume source and to instruct AERMOD to report the appropriate design values
   for a PM2.5 hot-spot analysis (the 1st highest and the 98th percentile concentrations at each receptor 27). Seven
   “supplemental” receptors were modeled in seven separate modeling runs for the PM10 hotpot analysis 28.
   These supplemental modeling runs contained different emission source release heights than the primary
   modeling run that included the other 3,525 receptors. For the PM2.5 hotspot analysis SSR added the seven
   supplemental receptors to the primary AERMOD input file so that all receptors would be modeled using
   the same set of input parameters. We believe that this approach is the most consistent with U.S. EPA
   Hotspot Modeling guidance, especially given that no justification was provided in the I-70 Project modeling
   files or reports for the changes made to the release heights for a small subset of the receptors. All other
   inputs remained unchanged..29
   Each volume source has an alphanumeric identifier in the AERMOD input files that define groups of
   volume sources that correspond with a segment of roadway. The volume sources also have x and y UTM
   coordinates defining their location. The roadway network provided by CDOT did not contain information
   to match roadway segments to the alphanumeric identifiers for each volume source. Therefore, to update
   the volume sources with PM2.5 emissions calculated for each segment we plotted the location of each
   volume source group in ArcGIS and spatially matched them to the roadway network segment that they
   overlaid. For each roadway segment we then divided its total PM2.5 emissions by the number of volume
   sources matched to it and assigned the resulting quantity of PM2.5 emissions to each of the spatially matched
   volume sources (i.e., each volume source that corresponds to a roadway segment has an equal portion of
   the segment’s total emissions). AERMOD takes as input gram per second emission rates for up to 24 one-


   25
      Note that CDOT estimated a separate emission lookup table for heavy-duty truck traffic and all other vehicle
   traffic (e.g., passenger cars, pickup trucks, vans, etc.) The DRCOG model also estimated the volume of all traffic
   and separately the volume of heavy-duty truck traffic. SSR followed the same process. The emission calculation
   process described here applies to the calculation of emissions from both types of vehicles. The quantity of emissions
   from each vehicle type on each segment are combined before moving onto the dispersion modeling process.
   26
      See Table 13.2.1-1 in US EPA, AP 42, Fifth Edition Compilation of Air Pollutant Emission Factors, Volume 1:
   Stationary Point and Area Sources.
   27
      The 1st highest 24-hour concentration is required to calculate the design value using EPA’s 2010 Hotspot Guidance
   while the 98th percentile concentration is required to calculate the design value using EPA’s 2015 Hotspot Guidance.
   28
      See SSR’s March 7, 2018 “Report of Investigation of Receptor Locations Selected for Modeling
   Emissions of PM10 From the I-70 Project” for a more detailed analysis and discussion of the “supplemental” receptors.
   29
      We also used the same meteorology data inputs covering the same time periods as CDOT. We obtained these
   from the APCD

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   hour time periods each day. The AERMOD inputs provided by CDOT contained 12 time periods of varying
   lengths, some of which did not align with the time periods from the FOCUS 2040 traffic outputs. SSR
   calculated time weighted average emission rates for AERMOD time periods that contained more than one
   FOCUS 2040 time period 30. We then ran AERMOD version 15181 with the updated input file.
   3    PM2.5 MODELING RESULTS
   The following section provides results of the hot-spot analysis for PM2.5 based on the modeling process
   described in the prior section and a design value calculation based on background concentrations obtained
   from air quality monitors in the same location as that used in the agencies’ hot-spot analysis.
   3.1 Modeled Concentration of PM2.5 Emissions from Vehicle Traffic
   The modeling estimates the average 24-hour concentrations of PM2.5 caused by emissions from the Project
   at each receptor location for the 1st highest day (i.e., the most polluted 24 hour period) and the 8th highest
   day (i.e., the 8th most polluted 24-hour period which is the 98th percentile 24-hour period in a set of 365
   such periods). The 98th percentile PM2.5 concentrations estimated by SSR for each receptor location defined
   in the agencies’ prior PM10 hot-spot analysis for the I-70/I-25 interchange area (Figure 1) and the I-70/I-
   225 area (Figure 2) are shown in the maps below. The concentration patterns are similar to those estimated
   by the agencies for PM10. Concentrations at the I-70/I-25 interchange are generally higher than those at I-
   70/I-225 and the highest concentrations are located immediately southeast of the I-70/I-25 interchange. The
   pattern of concentrations for the 1st highest concentrations are similar to the 98th percentile concentrations
   shown in these figures.




   30
     In general, this was accomplished by dividing each roadway segment’s total emissions for each time period by the
   number of seconds in that time period. Some time periods defined in the AERMOD input file were a combination of
   more than one of the time periods reported in the FOCUS 2040 outputs. In some cases, the AERMOD time periods
   were a fraction of one or more of these time periods. In these situations, emissions for the volume sources reflect
   time weighted gram per second emissions from one or more of the FOCUS 2040 time periods.

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                                I-70




   Figure 1 I-70/I-225 Interchange: 98th Percentile PM2.5 Concentrations from Vehicle Traffic on Phase
   I of the I-70 East Project (µg/m3)




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                             I-25



                                                                 I-70




   Figure 2. I-70/I-25 Interchange: 98th Percentile PM2.5 Concentrations from Vehicle Traffic on Phase
   I of the I-70 East Project (µg/m3)

   The highest 1st highest 24-hour concentration is 14.6167 µg/m3 (receptor located at UTM coordinates:
   500952.8278, 4402905.673) and the highest 98th percentile 24-hour concentration is 11.64613 µg/m3
   (receptor located at UTM coordinates: 500952.8278, 4402905.6726). Figure 3 shows the location and
   concentrations of the receptors with the highest 24-hour concentrations which are also located near the
   maximum concentration receptors. It should be noted that all but one of these receptors are located outside
   the Project right-of-way in parking lots to which the public has access. EPA requires that receptors have
   regulatory significance for determining NAAQS compliance only if located in the “ambient air.” EPA
   defines “ambient air” as “that portion of the atmosphere, external to buildings, to which the public has
   access.” 40 C.F.R. § 50.1(e).




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        A             W 44th Ave                                     B           W 44th Ave




                                                                                       I-25




                                                                                                                      Broadway
                                                          Broadway
                            I-25




   Figure 3 Receptors with the highest 1st highest (A) and highest 98th percentile (B) PM2.5 concentrations
   (µg/m3)

   3.2 Design Value Calculation
   To estimate a design value for a proposed transportation project that can be compared to the 24-hour PM2.5
   NAAQS U.S. EPA requires that PM2.5 concentration contributed by emissions from the project be added to
   the background PM2.5 concentration in the study area. U.S. EPA has issued two different procedures for
   determining the “design value” of a transportation project for comparison with the PM2.5NAAQS. Both
   procedures require that expected future concentrations resulting from Project emissions be added to
   background concentrations to determine the “design value”. The method for calculating background
   concentrations is the same for both procedures. But EPA’s initial design value procedure issued in 201031
   requires that the highest 24-hour concentration contributed by the Project be added to background, whereas
   the procedure issued in 2015 requires that the 98th percentile PM2.5 concentration from the Project (8th
   highest 24-hour concentration) be added to background.
   3.2.1 Background Concentrations
   Background concentrations are typically obtained from a nearby air quality monitor. U.S. EPA guidance
   requires that three years of monitoring data be used to estimate a background design value.
   The agencies’ PM10 hot-spot analysis used monitoring data for the years 2012-2014 from the Alsup monitor
   (Site ID: 080010006) located about 4 miles northeast of the I-25/I-70 interchange by the intersection of
   state routes 224 and I-76 (Figure 4). The Alsup monitor also measures PM2.5; however, only 2 years (2013
   and 2014) 32 of valid 24-hour measurements were collected at the Alusp site before the site was re-located.
   A new monitoring site called Tri County Health (Site ID: 080010008) began operation in July 2016 within
   approximately 500m from the Alsup monitor site (see Figure 4). The Tri County Health monitor collected
   a full year of 24-hour PM2.5 measurements during 2017. 33 The three-year background 98th percentile PM2.5
   concentration used to calculate the design values presented in this report are obtained from the three years

   31
      Hot-spot Guidance
   32
      According to a review of US EPA’s 2016 Design Value Report: https://www.epa.gov/air-trends/air-quality-
   design-values
   33
      Values downloaded from US EPA Monitor Values Report website on 2/15/2018: https://www.epa.gov/outdoor-
   air-quality-data/monitor-values-report. A note is included with these data states they will not be final until May 1st,
   2018.

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   of data available from the locale of the monitor used for PM10 hotspot analysis: 2013-2014 values from
   Alsup and 2017 values from Tri County Health. These three annual background concentrations are from
   the location most similar to the monitoring location used to determine background for the PM10 hotspot
   analysis. At this location the 3-year mean 24-hour concentration is 25 µg/m3.
   Three years of consecutive data from 2014-2016 are available from the La Casa monitor (Site ID:
   080310026) located approximately 0.8 miles southwest of the I-25/I-70 interchange (Figure 4). However,
   this site was considered by the agencies but not chosen for the PM10 emissions analysis because Air
   Pollution Control Division staff concluded that nearby land-uses (lack of proximity to industrial sources
   that affect air quality at the Project site), different prevailing wind patterns, and elevation of the monitor
   above the Platte Valley floor (where the Project is located) made it less representative of background air
   quality in the Project area than the Alsup monitor. 34 At the La Casa monitor the 3-year mean 24-hour
   concentration is 21 µg/m3. However, these data are not used for estimating background concentrations
   because they likely underestimate the Project area’s background PM2.5 concentration for the reasons
   identified by APCD.



                                                                             Tri County Health

                                                                                 Alsup




              La Casa

                                                                                  Project Area




   Figure 4 US EPA PM2.5 Air Quality Monitors 35

   3.2.2 Design Values
   SSR calculated design values using both the procedures in EPA’s 2010 and 2015 conformity guidance. 36
   The 98th percentile PM2.5 concentrations from the most recent 3 years of complete data from the Alsup/Tri-

   34
      Email responding to 11/17/16 request from CDOT for approval to use data from LaCasa monitor as background air
   quality for calculating the Project “design value”; From G. Pierce, Air Pollution Control Division, CDPHE, to V.
   Henderson, Colorado DOT, cc: FHWA (November 23, 2016): “we are having a hard time justifying the use of the
   La Casa site for background PM10 concentrations.” Three reasons given. See Appendix B.
   35
      Screen capture from: https://www.epa.gov/outdoor-air-quality-data/interactive-map-air-quality-monitors
   36
      On April 12, 2016, Petitioners submitted a petition to U.S. EPA requesting on substantive and procedural grounds
   that EPA revoke the design value procedures in §§ 9.3.3 (PM2.5) and 9.3.4 (PM10) of EPA’s Hot-Spot Conformity
   Guidance posted to a website in 2015 that amended and purported to replace the procedures published in EPA’s 2010

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   County monitoring site were added to the modeled PM2.5 concentrations from the Project (Table 1). The
   results indicate that the selection of an appropriate background PM2.5 concentration is critically important
   to this analysis as well as which EPA guidance is used. Using measurements from the Alsup/Tri-County
   location results in a design value of 37 µg/m3 using EPA’s 2015 guidance and 40 µg/m3 using EPA’s 2010
   guidance, either of which exceed the PM2.5 24-hour NAAQS.
   Table 1. PM2.5 Background Concentrations (µg/m3) and Calculated Design Value 37
                                                                            Modeled PM2.5 from
                        Background Monitor PM2.5 98th Percentile Values          Project                PM2.5 Design Value

                                                                3-Year    Highest 8th   Highest 1st     2010         2015
    Site                2013   2014   2015    2016    2017      Mean        Highest      Highest      Guidance     Guidance
    Alsup                23    28.2
                                                                 25        11.6461       14.6167        40            37
    Tri County Health                                 23.7


   4       CONCLUSIONS
   SSR performed an air quality hot-spot analysis for Phase I of the I-70 East Project to evaluate the effect of
   vehicle traffic on the concentration of PM2.5 in the Project area and evaluate the potential for the Project to
   cause a violation of the 24-hr PM2.5 NAAQS. Our analysis used the same data and methods as the agencies’
   hot-spot analysis, with the only changes being those required to model PM2.5 rather than PM10.Our analysis
   finds that the Project will significantly impact PM2.5 concentrations in the Project area.PM2.5 emissions from
   the Project would cause a violation of the NAAQS if air quality monitoring data from the Alsup/Tri-County
   monitoring location are representative of the Project area’s background PM2.5 concentration. The results
   indicate the Project contributes significantly to increased concentrations of PM2.5 in the Project area.
   It is important to note that this analysis only considers emissions from Phase I of the I-70 East Project and
   reported current background concentrations. Other potential increases in PM2.5 emissions from sources
   present in the study area or that may occur in the future, including additional traffic when the entire I-70
   East Project is completed, are not considered.




   Hot-spot Guidance. EPA has yet to act on that petition. Until EPA acts on that petition, Petitioners in this proceeding
   contend that the provisions of EPA’s 2010 Hot-spot Guidance continue to apply. Therefore for the purpose of this hot-
   spot analysis the results are reported for both procedures.
   37
      Alsup PM2.5 data from US EPA’s 2016 Design Value Report: https://www.epa.gov/air-trends/air-quality-design-
   values. Tri County Health PM2.5 data from US EPA Monitor Values Report website: https://www.epa.gov/outdoor-
   air-quality-data/monitor-values-report


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APPENDIX A
MS Excel file “I70 Road Dust EFs—Final.xlsx“ provided by CDOT to the Sierra Club
Road Dust/Sanding Factors for I-70 Analysis
                                                                                                      RoadDustFactors                                      Area Type PM10_89 correction
                                                                                                      class name               factor gm/mi                code      areatype         correction
                                                                                                         1 Freeway                      0.64                   1     CBD                 0.1512
                                                                                                         2 Maj. Regional                0.64                   2     Fringe               0.127
                                                                                                         3 Pr. Arterial                 0.92                   3     Urban               0.1354
                                                                                                         4 Min. Arterial                1.81                   4     Suburban            0.1339
                                                                                                         5 Collector                   1.805                   5     Rural               0.1368
                                                                                                         6 Ramps                        0.78
I-70 project factors                                                                                     7 Frontage                    1.365
                                                                    EF by Area Type, gm/mi               8 Local                         1.8
Class  Name                    Agency Control     Reduction        AT2        AT3      AT4
    1  General Freeway         CDOT      sweepbox       83%      0.106835 0.105497 0.105736
       Frwy HOT/managed lanes CDOT       sweepbox       75%      0.157111 0.155143 0.155494
   2   Maj. Regional           Denver GPMD              60%      0.251377 0.248229 0.248791
   3   Pr. Arterial            Denver GPMD              60%      0.356321 0.353173 0.353735                 Emissions Reduction
   4   Min. Arterial           Denver GPMD              60%      0.689893 0.686745 0.687307                 Agency              Strategy       Reduction
   5   Collector               Denver GPMD              60%      0.688019 0.684871 0.685433                 CDOT: HOT/managed Sweep Box             0.75
   6   Ramps                   CDOT      sweepbox       83%      0.129136 0.127798 0.128037                 CDOT: other freeway Sweep Box           0.83
   7   Frontage                Denver GPMD              60%      0.523107 0.519959 0.520521                 Denver              GPMD                 0.6
   8   Local                   Denver GPMD              60%      0.686145 0.682997 0.683559
*GPMD=General PM10 Modeling Domain (non-sweepbox)

7/28/16: Denver reduction changed from 42% to 60% based on most recent DRCOG conformity commitment.
8/2/16: CDOT reduction revised to reflect 75% reduction on HOT/managed lanes
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   APPENDIX B
   EMAIL EXCHANGE BETWEEN CDOT AND APCD REGARDING BACKGROUND MONITOR
   AR 29381-29383
   On Thursday, November 17, 2016, Henderson - CDOT, Vanessa <vanessa.henderson@state.co.us >
   wrote:
   Hi Gordon -
   I left you a voicemail at the end of the day yesterday and wanted to follow-up on that because FHWA just
   had another call with EPA this morning. EPA has indicated that they would be okay with us switching
   background monitors from the old Commerce City monitor to the newer La Casa monitor as long as
   APCD is okay with it. If you're able to confirm that APCD is okay with it, that'd be great. Here's the
   information that we provided to EPA about why the La Casa monitor would be better for this project (as a
   refresher for you from the recent Cooperating Agency meeting).
   At the time we began development of the air quality protocol for the I-70 East project in the summer of
   2012, the La Casa site was not yet in operation, and we selected from the existing nearby monitors with 3
   years of PM10 data (CAMP, Commerce City, and Welby) as potential sources of background
   concentrations. However, as we noted in the protocol, it may also be appropriate to use a different
   monitor, or interpolate between these and/or another monitor.The La Casa site began operation 9/27/2012,
   and it now has 3 complete years of PM10 data (2013-2015). It is located approximately 3/4 mile west of
   the I-25 interchange, which has the highest modeled concentrations (excluding background) anywhere
   along the project. (The Commerce City site ceased operation in 2015, so 2012-2014 data are the most
   recent available from this site, and it is located over 4 miles northeast of the I-25 interchange.) In
   addition to the La Casa data being newer and closer, APCD has indicated verbally that this monitor is
   more reflective of land use in the project area, and would provide a more representative background
   concentration than the Commerce City site that we are currently using. This in turn would result in more
   accurate design values for the PM10 conformity and NEPA analyses.
   We propose to use this site as the source of background data for the revised PM10 hotspot analysis and
   conformity determination to be released for public review later this month. We would like to request your
   assistance in calculating the applicable 2013-2015 background value from this site (considering data
   completeness, as well as the multiple samplers present at this location). We will also prepare a technical
   justification for using this site as a source of background data (in consultation with APCD), addressing
   the factors outlined in section 8.3.1 of the PM hotspot guidance.
   Also, EPA has requested the data from the La Casa monitor in order to help us determine the appropriate
   background concentration to use. So, I was hoping that you or one of your staff would be able to provide
   that information to me for them. I think I can pull it from your website, but it'd make me feel better
   getting the data from you guys just in case I didn't pull the right stuff.
   0000029381
   4
   Is there anything else that we'd need from you guys in order to proceed with the La Casa monitor that I
   haven't noted? I'm wondering if our Stapleton met data set is still the appropriate set of met data of if
   Emmett would need to get us new met data. Also, anything else you guys can think of would be great to
   know.
   Feel free to give me a call if you want to discuss anything or add whoever you think should be included
   from your group to this email. I'm not sure of everyone's roles still (I think Dale is MOVES, Emmett is
   met data, and Paul is the transportation liaison, but not sure of anyone else), so I figured I'd just start with
   you and go from there. As I'm sure you're aware, we're very tight on time (still need to get the conformity
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   out for agency/public review at the beginning of December), so if you're able to get back to me pretty
   quickly, I'd really appreciate it.
   Thanks in advance for your help with this!
   Vanessa
   CDPHE responded with reasons not to use the La Casa monitor::
   7. AR 29379- 29455
   Gordon Pierce (CDPHE) to CDOT, FHWA, 11/23/16
   Vanessa,
   Sorry for the delay. I have had staff look at the data and site locations and we are having a hard time
   justifying the use of the La Casa site for background PM10 concentrations, even though the site is closer
   to the Globeville-Elyria-Swansea (GES) area. The primary issues are:
   1. La Casa is located on a little higher terrain outside of the Platte Valley, so wind flows related to sources
   can be different versus the Alsup/Commerce City site.
   2. La Casa has little to no significant industrial activity nearby whereas the GES area does have nearby
   industrial activity, including Purina, Metro Denver Wastewater, Suncor Refinery and Xcel
   Cherokee.Alsup/Commerce City is downwind of these sources as well, so it better reflects the GES area.
   3. The GES area has impacts from both I-25 and I-70, including the "mousetrap". Due to its
   topographically higher location to the west and wind patterns (see wind roses in our Annual Data Reports
   that show a predominant SW component) we do not believe that La Casa is fully picking up all the
   impacts from the existing highways.

   We have looked at the continuous PM10 data from the near-road Globeville site at I-25 and 49th Avenue
   as well made comparisons to other sites. For Oct. 2015 - Sep. 2016, the Globeville 1st max 24-hour
   concentration at local temperature and pressure (LTP) conditions is 93 ug/m3, the 2nd max is 87 ug/m3.
   For standard temperature and pressure (STP) conditions to directly compare the the PM10 NAAQS, these
   concentrations would be roughly 20% higher, or about 110 and 105 ug/m3 respectively. So, the
   Globeville location is much more comparable to what was seen at Alsup/Commerce City. (Note: as these
   values are not from a reference or equivalent analyzer, we are reporting what comes from the instrument,
   which is at LTP, not STP conditions.)
   These data are in an attached file.
   I don't know how the Federal Highways calculations work, but keep in mind as well that the La Casa site
   operates every 3rd day, not every day, so that would also affect the values used.
   I have attached the La Casa data for 2013-2015, as requested, including the 24-hour FRM every 3rd-day
   and the hourly data. Note that the hourly data were initially from a TEOM (which is an equivalent
   analyzer with data at STP), but changed to a GRIMM analyzer (which is not an equivalent analyzer so
   data are at LTP) in March 2015.




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